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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
                                NEW ORLEANS DIVISION

JOHN SCOTT MAAS,

       Plaintiff,                                     CIVIL ACTION NO 20-cv-00335

VERSUS
                                                      JUDGE BARBIER
BP EXPLORATION & PRODUCTION,                          MAG. JUDGE WILKINSON
INC. & BP AMERICA PRODUCTION
COMPANY
                Defendants,

Related to: 12-968 BELO
            in MDL No. 2179
__________________________________/


 MOTION TO WITHDRAW AS COUNSEL OF RECORD WITHOUT SUBSTITUTION

       COMES NOW Counsel for Plaintiff, Nathan L. Nelson hereby moves for entry of an Order

granting withdrawal as counsel of record for Plaintiff, JOHN SCOTT MAAS, removing him from

the service list in this matter, pursuant to Rule 83.2.11 of the Local Rules of the United States

District Court for the Eastern District of Louisiana in support thereof states as follows:



       1. Plaintiff, John Scott Maas, and undersigned Counsel have reached irreconcilable

           differences in the course of Counsel’s representation of Plaintiff;

       2. Plaintiff has advised that he is planning to proceed pro se;

       3. No party will be unduly prejudiced by the granting of this motion as the case is still at

           its early stage and the Belo Complaint has just been filed on January 29, 2020.

       4. A copy of this motion and all other upcoming deadlines have been served to the

           Plaintiff and Opposing Counsel by certified mail.
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       5. Plaintiff’s current contact information is as follows:

               John Scott Maas
               505 Ripley Road
               Sparta TN 38583

        6. Plaintiff can be reached via telephone at (228)-273-5898.

        7. Defendants have indicated that they do not oppose this Motion to Withdraw.

       WHEREFORE Counsel for Plaintiff, Nathan L. Nelson respectfully request that this

Court enter an Order: granting his leave to withdraw as counsel for Plaintiff, removing Nathan L.

Nelson from the service list in this matter, and any other relief this Court deems just and proper.


Dated: February 17th, 2020
                                              Respectfully submitted,

                                              /s/ Nathan L. Nelson
                                              Nathan Nelson, Florida Bar No.: 1002523
                                              THE DOWNS LAW GROUP, P.A.
                                              3250 Mary Street, Suite 307
                                              Coconut Grove, Florida 33133
                                              Phone : (305) 444-8226
                                              Fax : (305-444-6773
                                              Email : nnelson@downslawgroup.com

                                              Attorneys for Plaintiff John Scott Maas.

                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct going of the foregoing instrument was
electronically filed with the Clerk of Court using the CM/ECF system and sent via certified mail
to John Scott. Maas at 505 Ripley Road, Sparta TN 38583. Notice of this filing was also sent to
all counsel of record registered to receive electronic service by operation of the Court’s electronic
filing system via the notice of this filing sent through the CM/ECF system.


                                                              Dated this 17th day of February 2020

                                                                            /s/ Nathan L. Nelson__
                                                                            Nathan L. Nelson, Esq.
